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                                UNITED STATES DISTRICT COURT

                                      DISTRICT OF MARYLAND

   CHAMBERS OF                                                                         6500 Cherrywood Lane
    Paula Xinis                                                                        Greenbelt, MD 20770
UNITED STATES DISTRICT JUDGE

                                             June 26, 2025
                         Re:    25-cv-951-PX, Abrego Garcia et al. v. Noem et al.

                                            LETTER ORDER
      Dear Parties:

              As discussed during today’s recorded status conference, the Court sets the following
      schedule concerning the pending motions: Defendants’ Motions to Dismiss (ECF Nos. 165 &
      200); and Plaintiffs’ Emergency Motion for an Order to Return Kilmar Armando Abrego Garcia
      to the District of Maryland After Release in the Tennessee Criminal Proceedings (ECF No. 203).

              June 30, 2025               Plaintiffs’ Response to ECF No. 200 due by 5:00
                                          PM.
                                          Defendants’ Response to ECF No. 203 due by 5:00
                                          PM.

              July 2, 2025                Any reply from Plaintiffs in support of ECF No.
                                          203 due by 5:00 PM.
                                          Plaintiffs’ Motion for Leave to File Amended
                                          Complaint due by 5:00 PM.

              July 7, 2025                Motions Hearing
              11:00 AM
              Courtroom 2C,
              Greenbelt, MD

             Although informal, this correspondence constitutes an Order of the Court and shall be
      docketed as such.

                                          Sincerely,

                                                 /s/
                                          PAULA XINIS
                                          United States District Judge
